THOMASVILLE ICE &amp; MANUFACTURING CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Thomasville Ice &amp; Mfg. Co. v. CommissionerDocket No. 8527.United States Board of Tax Appeals9 B.T.A. 1006; 1927 BTA LEXIS 2475; December 29, 1927, Promulgated *2475  1.  Evidence insufficient to show error on the part of the Commissioner in the determination of deficiencies for the fiscal years 1918 and 1919.  2.  Appeal dismissed in so far as it relates to the fiscal year 1920 for want of jurisdiction.  James L. Respess, C.P.A., for the petitioner.  W. F. Wattles, Esq., for the respondent.  ARUNDELL*1006  The Commissioner determined deficiencies in income and profits taxes for the fiscal years ended October 31, 1918 and 1919, in the respective amounts of $613.80 and $1,212.93, and an overassessment of $392.03 for the fiscal year ended October 31, 1920.  Petitioner questions the depreciation allowed by theCommissioner in his determination.  FINDINGS OF FACT.  The petitioner is a Georgia corporation with its office at Thomasville.  On September 23, 1925, the respondent sent a letter to petitioner's accountants setting forth additional tax found due for the years here involved in the same amounts as the deficiencies finally determined and an overassessment for the fiscal year 1920 in the same amount as that finally determined.  The schedules annexed to that letter with respect to depreciation are the*2476  same as those attached to the letter of October 9, 1925, from which this appeal was taken, and are as follows: 1918Net income reported$14,345.79Deduct:Depreciation allowed$5,113.62Depreciation deducted2,500.00.2,613.62Balance11,732.17Add:Federal income tax$82.58Income understated3,531.043,613.62Net income adjusted15,345.791919Net income reported$17,343.20Add:Depreciation deducted$6,684.67Depreciation allowed5,432.661,252.01Income understated1,228.06Net income adjusted19,823.27*1007  On November 16, 1925, the respondent in response to an inquiry from petitioner mailed the petitioner a letter reading in part: In reply you are advised that the enclosed schedules set forth the correct depreciation and reconciliation with the reserves as shown in the adjusted balance sheets.  Inasmuch as net income was arrived at through the reconciliation of surplus and the balance sheets are correct, the recomputation of depreciation will not affect your tax liability.  The schedules attached to the letter contain computation of depreciation and reserves for depreciation*2477  for each of the years 1918, 1919, and 1920 on delivery equipment, buildings, machinery, furniture and fixtures, and automobiles.  OPINION.  ARUNDELL: An overassessment having been found for the year 1920, we have no jurisdiction for that year and the proceeding with respect thereto is dismissed.  . As to the years 1918 and 1919 the petitioner's complaint is that the respondent has not allowed as depreciation deductions the amounts "which he states has been allowed." The Commissioner, in his brief, concedes that the amounts set forth in the deficiency letter as depreciation allowances are not the amounts he actually allowed in computing the deficiency.  He further says that the amounts actually allowed are less than those given in the deficiency letter, and on this the parties agree.  The only evidence offered in this case consists of the letters from the Commissioner's office, which are referred to in *1008  the findings of fact.  They do not in any respect show wherein, if at all, the Commissioner erred.  No proof was offered to show the amount of depreciation to which the petitioner is entitled and until that is shown*2478  we can not say that the Commissioner erred in his determination of the amount allowable.  No effort was made by the petitioner to show error on the part of the Commissioner either in the rates used or the basis to which the rates were applied.  Judgment will be entered for the respondent.Considered by LANSDON, STERNHAGEN, and GREEN.  